  Case 18-12798       Doc 47   Filed 03/27/20 Entered 03/30/20 11:12:51                Desc Main
                                 Document      Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                         )                BK No.:    18-12798
Divine R Magluyan                              )
                                               )                Chapter: 13
                                               )
                                                               Honorable A. Benjamin Goldgar
                                               )
                                               )                Lake County
               Debtor(s)                       )

                   ORDER MODIFYING THE PLAN POST CONFIRMATION



THIS MATTER coming to be heard on the DEBTOR'S MOTION TO MODIFY, the Court having
jurisdiction, with due notice having been given to all parties in interest, the Court orders as follows:

  IT IS SO ORDERED:

  1. The motion is granted.

  2. The plan base remains the same.

  3. The existing default is deferred.




                                                            Enter:


                                                                     Honorable A. Benjamin Goldgar
Dated: March 27, 2020                                                United States Bankruptcy Judge

 Prepared by:
 David H. Cutler, esq.
 Counsel for Debtor(s):
 Cutler & Associates, Ltd,
 4131 Main St.
 Skokie, IL 60076
 Phone: (847) 673-8600
